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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 DAVID YANOFSKY,

                Plaintiff,
                                                     Civil Action No. 1:16-cv-00951 (KBJ)
        v.

 UNITED STATES DEPARTMENT
 OF COMMERCE,

                Defendant.




                  PLAINTIFF’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 7, and in accordance with

the Scheduling Order entered by this Court on September 2, 2016, David Yanofsky (“Yanofsky”

or “Plaintiff”) respectfully moves the Court for summary judgment in his favor and against the

United States Department of Commerce (the “DOC” or “Defendant”) as to (1) the DOC’s refusal

to grant Plaintiff’s request for a fee benefit and fee waiver in connection with his February 26,

2016 Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, request and (2) the DOC’s

improper withholding of records responsive to that request from Plaintiff.

       In support of this Motion for Summary Judgment (“Motion”) and in Opposition to

Defendants’ Motion for Summary Judgment, Plaintiff submits the following: (1) Memorandum

of Law; (2) Statement of Material Facts as to Which There Is No Genuine Issue and Response to

Defendant’s Statement of Material Facts; and (3) Declaration of David Yanofsky. This Motion

is based on the foregoing concurrently filed documents, all pleadings, records, and files in the

above-captioned case, and on such argument as may be presented by counsel at any hearing on

this Motion.



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       Plaintiff respectfully requests an oral hearing on his Motion pursuant to Local Rules 7(f)

and 78.1 at a date and time that is convenient for the Court.


Dated: October 31, 2016

                                              Respectfully submitted,

                                              /s/ Katie Townsend
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                                              Bruce D. Brown
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